                   Case 23-10047-LSS             Doc 315       Filed 04/17/23         Page 1 of 2



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                               )
    In re:                                                     ) Chapter 11
                                                               )
    PERFORMANCE POWERSPORTS GROUP                              ) Case No. 23-10047 (LSS)
    INVESTOR, LLC, et al., 1                                   )
                                                               )
                                      Debtors.                 ) (Jointly Administered)
                                                               )

                   AMENDED NOTICE OF AGENDA OF MATTERS SCHEDULED
                      FOR HEARING ON APRIL 19, 2023 AT 2:00 P.M. (ET)

     THIS HEARING HAS BEEN CANCELLED AT THE DIRECTION OF THE COURT

WITHDRAWN MATTERS:

1.           Debtors’ Motion for Entry of an Order Enforcing the Automatic Stay and Granting Related
             Relief [Docket No. 236; Filed 3/17/2023]

                    Related Documents:

                              A.     Notice of Withdrawal of Debtors’ Motion for Entry of an Order
                                     Enforcing the Automatic Stay and Granting Related Relief [Docket
                                     No. 312; Filed 4/14/2023]

                    Response Deadline:        April 12, 2023 at 4:00 p.m.

                    Responses Received: None

                    Status:          This matter has been withdrawn.

UNCONTESTED MATTERS WITH A CNO:

2.           Debtors’ Motion for Entry of an Order Authorizing the Rejection of a Certain Unexpired
             Lease and the Abandonment of any Related Personal Property [Docket No. 284; Filed
             3/30/2023]




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      The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective federal
      tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068); Performance
      Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533); and
      Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
      University Drive, Tempe, Arizona 85281.


10468542.v1
              Case 23-10047-LSS       Doc 315       Filed 04/17/23   Page 2 of 2



               Related Documents:

                      A.     Certificate of No Objection Regarding Docket No. 284 [Docket No.
                             310; Filed 4/14/2023]

                      B.     Proposed Order

               Status:       An Order on this matter has been entered.

3.      Debtors’ Motion for Entry of an Order Authorizing the Rejection of Certain Executory
        Contracts Effective as of the Rejection Date [Docket No. 288; Filed 3/31/2023]

               Related Documents:

                      A.     Certificate of No Objection Regarding Docket No. 288 [Docket No.
                             311; Filed 4/14/2023]

                      B.     Proposed Order

               Status:       An Order on this matter has been entered.


Dated: April 17, 2023                   /s/ Domenic E. Pacitti
Wilmington, Delaware                    Domenic E. Pacitti (DE Bar No. 3989)
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                                        Counsel to the Debtors and Debtors in Possession




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10468542.v1
